     Case 2:24-cr-00091-ODW        Document 76       Filed 05/31/24    Page 1 of 6 Page ID #:1167




 1    DAVID Z. CHESNOFF, ESQ.
      Pro Hae Vice
2
      RICHARD A. SCHONFELD, ESQ.
3     California Bar No. 6815
      CHESNOFF & SCHONFELD
4
      520 South Fourth Street
5     Las Vegas, Nevada 89101
      Telephone: (702) 384-5563
6
      rschonfeld@cslawoffice.net
7     dzchesnoff@cslawoffice.net
      Attorneys for Defendant, ALEXANDER SMIRNOV
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 9                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
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11                                            ******
      UNITED STATES OF AMERICA,                 )
12
                                                )
13                         Plaintiff,           )
                                                )   CASE NO. 2:24-CR-00091-ODW
14
      V.                                        )
15                                              )
      ALEXANDER SMIRNOV,                        )
16
                                                )
17                         Defendant,           )

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19    DEFENDANT'S SUPPLEMENT TO MOTION TO REOPEN DETENTION HEARING
           AND TO IMPOSE CONDITIONS OF PRETRIAL RELEASE (ECF 75)
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21           COMES NOW, Defendant, ALEXANDER SMIRNOV ("Mr. Smirnov"), by and

22    through his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A. SCHONFELD, ESQ.,
23    of the law firn1 of CHESNOFF & SCHONFELD and hereby submits this Supplement to the
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      Motion to Reopen the Detention Hearing (ECF No. 75).
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             This Supplement is based upon circumstances that arose after the filing of the Motion
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      to Reopen Detention Hearing. Specifically, the undersigned counsel wants to inform the Court
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     Case 2:24-cr-00091-ODW          Document 76       Filed 05/31/24      Page 2 of 6 Page ID #:1168




 1    of new information in support of Mr. Smimov's request for release on the conditions that were
2     previously proposed, as follows:
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               Since the time the Motion to Reopen Detention Hearing was filed, Mr. Smirnov has
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      been transferred from the Santa Ana Jail to the Metropolitan Detention Center ("MDC") in Los
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      Angeles. Mr. Smimov has been designated to the Special Housing Unit ("SHU") 1.                As
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 7    described herein, the SHU designation has drastically diminished Mr. Srnirnov's ability to assist

 8    his counsel in defending this case.

 9             Mr. Smirnov has requested multiple attorney calls on his own paper because "kites"
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      have not been provided and those requests have not been acted on. Mr. Smimov has been given
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      one legal call, on May 30, 2024 (presumably as a result of counsel Chesnoff sending an email
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      to the United States Marshal Service), and has otherwise not been able to make any calls to his
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      counsel because he has not given access to a computer to sign into the system to allow calls and
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15    has been told that the MDC employee (a Lieutenant) has to do it for him and he is away on

16    leave. Not only has Mr. Smirnov been unable to speak to his lawyers remotely, he has not been

17    able to speak to his wife and other family members for suppo1i. Since he has been at the MDC,
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      he has received permission to make one call to family, which occurred last Sunday, May 26,
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      2024,.
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               During an in person visit on May 29, 2024, counsel Chesnoff asked the person in the
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22    SHU control room whether he was permitted to bring a laptop or USB drive to review discovery

23    with Mr. Smirnov, since all of the discovery produced in this case has been in digital form (and

24    would otherwise be too voluminous to take to the MDC), he was informed that computers were
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       It should be noted that as of the date of the filing of this Motion, to the undersigned
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      counsel's knowledge Mr. Srnirnov has not received the medically necessary eye surgery that
28    was allegedly to take place by the end of May, 2024.
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     Case 2:24-cr-00091-ODW          Document 76        Filed 05/31/24     Page 3 of 6 Page ID #:1169




 1    not permitted in the SHU, thereby rendering it impossible for Mr. Smirnov to effectively aid in
2     his defense.
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             When Mr. Smirnov was brought into the room for his attorney visit, he was handcuffed
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      and his legs were shackled. The handcuffs and shackles remained for the entire visit2. Counsel
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      will need to spend many homs with Mr. Smirnov preparing his defense and for him to be
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 7    shackled and handcuffed in a locked attorney room with only his lawyer or lawyers present is

 8    inhumane and will make the work exceptionally difficult. Moreover, the room has a table with

 9    a plastic partition with an opening and counsel Chesnoff was instructed that he had to sit across
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      from Mr. Smirnov and was required to pass documents through the opening (with Mr. Smimov
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      being handcuffed on the other side). Mr. Chesnoff asked if he could sit next to Mr. Smirnov,
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      to which the officer responded "haven't you been to the SHU before" or words to that effect,
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      and then he said no.
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15           It is also significant that Mr. Smirnov has no access to emails thereby preventing him

16    from preparing dming the times that we are not physically meeting. The Santa Ana City Jail

17    used the Smart Communication system, which made working with Mr. Smirnov much easier.
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        While counsel Chesnoff was able to print some discovery to review with Mr. Smirnov, the
      electronically produced discovery is voluminous, and it would be unmanageable to print all
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      discovery to review in hard copy with Mr. Smirnov at MDC visits. It is for that reason that
28    counsel Chesnoff asked if he could bring a laptop or USB drive.
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     Case 2:24-cr-00091-ODW          Document 76         Filed 05/31/24      Page 4 of 6 Page ID #:1170




 1           These circwnstances were addressed by email from counsel Chesnoff to the United
2     States Marshal Service. In response, the Marshal Service con:fi1med the following: 1) Mr.
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      Smimov will received one social phone call every 30 days; 2) Mr. Smirnov will be in full
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      restraints (including leg irons) for his legal visits (a policy that will not be deviated from); 3)
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      Mr. Smirnov can review discovery in the SHU with a thumb drive maintained by the SHU
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 7    Lieutenant, which in this case, would violate the Protective Order that prohibits Mr. Smirnov

 8    and the jail personnel from possessing confidential discove1y.

 9           The email also suggested that if Mr. Smimov's counsel reque_sted that he be transferred
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      back to the Santa Ana Jail, that could be facilitated. Accordingly, on May 30, 2024, counsel
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      Chesnoff sent an email requesting that Mr. Smirnov be transferred back to the Santa Ana Jail
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      forthwith.   In response, counsel Chesnoff was advised that Mr. Smirnov would not be
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      transferred due to medical support issues3 . .Accordingly, based on the emails, Mr. Smirnov will
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15    remain in the SHU if his pretrial detention continues.

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       The fact that the Santa Ana Jail could not administer three eye drops, which were identified
28    by Dr. Tanaka, remains baffling.
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     Case 2:24-cr-00091-ODW        Document 76        Filed 05/31/24   Page 5 of 6 Page ID #:1171




 1           The above stated circumstances further support the positions asserted by Mr. Smirnov
 2    in supp01t of the Corut reopening the Detention Hearing and granting release on specified
 3
      conditions.
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             Dated this 3!51 day of May, 2024.
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                                                 Respectfully Submitted:
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                                                 CHESNOFF & SCHONFELD
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 9                                                   /s/     David Z. Chesnoff
                                                 DAVID Z. CHESNOFF, ESQ.
10
                                                 Pro Hae Vice
11                                               RlCHARD A. SCHONFELD, ESQ.
                                                 California Bar No. 202182
12
                                                 520 South Fourth Street
13                                               Las Vegas, Nevada 89101
                                                 Telephone: (702) 384-5563
14
                                                 rschonfeld@cslawoffice.net
15                                               dzchesnoff@cslawoffice.net
                                                 Attorneys for Defendant ALEXANDER
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                                                 SMIRNOV
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     Case 2:24-cr-00091-ODW         Document 76         Filed 05/31/24   Page 6 of 6 Page ID #:1172




 1                                  CERTIFICATE OF SERVICE
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             I hereby certify that on this 3 !51 day of May, 2024, I caused the forgoing document to
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      be filed electronically with the Clerk of the Cowt through the CM/ECF system for filing; and
4
      served on counsel ofrecord via the Court's CM/ECF system.
 5
 6
 7                                         Isl Camie Linnell
 8                                         Employee of Chesnoff & Schonfeld

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